       Case 2:17-cv-00184-J Document 10 Filed 12/22/17 Page 1 of 1 PageID 137
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS

                                      Amarillo
                                      ________________ DIVISION

 (Name All Plaintiffs and Defendants)
                                                                    CIVIL NUMBER ___________________
                                                                                     2:17-CV-184-J
Volvo Financial Services,
a division of VFS US LLC
                                                                           Complete the following if judgment
                                                                             was rendered in another District:
 vs.
W.H Coffman, Inc.;                                                       District: _____________________
William Hardy Coffman; and                                        Docket Number: _____________________
Keva Coffman
                                                                    Date Entered: _____________________

                                       ABSTRACT OF JUDGMENT

 In the above entitled and numbered cause a judgment was entered in this Court, or other United States
 District Court as indicated above and registered herein, on the ____
                                                                  5th day of ______________,______,
                                                                                December     2017 in
 favor of ______________________________________________________________________________
                            Volvo Financial Services, a division of VFS US LLC
 against _________________________________________________________________________________
              W.H Coffman, Inc.; William Hardy Coffman; and Keva Coffman, jointly and severally,
 ____________________________________________________________________________________
 in the sum of $ ____________________________________________________
                                      159,483.52                      with interest at the rate of
  1.62 per cent per annum from the ______
 _____                               5th day of ____________,
                                                  December    _______.
                                                               2017


 Costs have been taxed by the Clerk of Court in the sum of $ ____________________________________.
                                                                             0.00

 Credits reflected by returns on execution in the sum of $________________________________________.
                                                                            0.00

 The address of the defendant shown in this suit in which said judgment was rendered:_________________
                                                                                      for all Defendants,
 _____________________________________________________________________________or
                      10800 Cemetery Road, Canyon, TX 79015                      nature of
 citation and date and place citation served:
 _______________________________________________________________________________________.

 I certify that the above and foregoing is a true and correct abstract of judgment rendered or registered in this
 Court.

 Witness my hand and seal of the Court this _____ day of ______________, 20____.


                                                             KAREN MITCHELL, CLERK


                                                             By ________________________
                                                                    Deputy Clerk
